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                                         UNITED STATES DISTRICT COURT
                                          MIDDLE DISTRICT OF FLORIDA
                                                TAMPA DIVISION

 NOVA CASUALTY COMPANY,

           Plaintiff,

 v.                                                           Case No. 8:09-cv-1351-T-30AEP

 ROBERT SANTA LUCIA, et al.,

       Defendants.
 _____________________________________/

                                             ORDER OF DISMISSAL

           THIS CAUSE came before the Court for jury trial beginning May 2, 2011. On May 3, 2011,

 the Court was advised that the parties have reached a settlement. Accordingly, pursuant to Local

 Rule 3.08(b) of the M.D.Fla., it is

           ORDERED and ADJUDGED that this cause is hereby DISMISSED without prejudice

 subject to the right of any party to re-open the action within sixty (60) days of the date of this order,

 to submit a stipulated form of final order or judgment should they so choose or for any party to

 move to reopen the action, upon good cause shown. After that 60-day period, however, dismissal

 shall be with prejudice. All pending motions, if any, are DENIED as moot. The Clerk is directed

 to close the file.

           DONE and ORDERED in Tampa, Florida on May 3, 2011.




 Copies furnished to:
 Counsel/Parties of Record

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